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FLN (Rev. 3/2007) Deficiency Order                                                           Page 1 of 1
3:94cr3012LAC - UNITED STATES OF AMERICA vs. RAY ANTHONY WILLIAMS and MARTIN LUTHER WILLIAMS


                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

       vs                                              Case No.3:94cr3012LAC

RAY ANTHONY W ILLIAMS AND
MARTIN LUTHER WILLIAMS




                                               ORDER

Attn: Mr. Ray Anthony Williams

Your document, MOTION OBJECTION TO GOVERNMENT RESPONSE TO
PETITIONER’S MOTION TO DISMISS INDICTMENT FOR SUBJECT MATTER
JURISDICTION, CONSTRUCTIVE AMENDMENT AND STRUCTURAL ERROR
DATED JULY 16, 2008, was referred to the undersigned with the following deficiencies:

       The document does not have an original signature of Defendant Martin
       Luther Williams. You are not allowed to file documents on behalf of
       another party.

For these reasons, IT IS ORDERED that:

The document shall remain in the electronic file, but the court will not consider it until
you have corrected the above deficiencies through the filing of a corrected document.

The document shall remain in the electronic file, but no further pleadings will be
accepted unless they comply with NORTHERN DISTRICT OF FLORIDA local rules.

XXX The Clerk shall return the document to the filing party.

DONE and ORDERED this 1st day of August, 2008.



                                               s /L.A. Collier
                                               LACEY A. COLLIER
                                               SENIOR UNITED STATES DISTRICT JUDGE
